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                        UNITED STATES BANKRUPTCY COURT
                         FOR THE DISTRICT OF DELAWARE


In re:                                              Chapter 11

Team Systems International, LLC,                    Case No. 22-10066-CTG

                      Debtor(s).



        GPDEV, LLC AND SIMONS EXPLORATION, INC.’S OPPOSITION
 TO MOTION FOR ENTRY OF ORDER GRANTING TSI MEMBERS STANDING TO
 (A) PROSECUTE THE APPEAL AND (B) FILE CLAIMS AND COLLECT CERTAIN
       ACCOUNTS RECEIVABLE ON BEHALF OF THE DEBTOR’S ESTATE

         GPDEV, LLC (“GPDEV”), and SIMONS EXPLORATION, INC. (“Simons” and,

together with GPDEV, the “Creditors”), by and through their undersigned counsel, hereby

oppose Deborah Evan Mott, Steven M. Acosta, Christopher Mott, and John S. Maciorowski’s

Motion for Entry of Order Granting TSI Members Standing to: (A) Prosecute the Appeal and (B)

file claims and collect certain accounts receivable on behalf of the Debtor’s estate (the

“Motion”) (ECF 328) and in support respectfully state as follows:

         1.   The Motion is nothing more than another attempt for TSI’s members to obtain the

benefit of a stay of execution on the Creditor’s judgment without the posting of a supersedeas

bond. As it is only for the improper litigation purpose of further hindering, delaying, and

frustrating Creditors without the posting of any security, the Motion should be denied in its

entirety.

         1.   August of 2017, GPDEV and Simons entered a contract with the Debtor, Team

Systems International, LLC (“TSI”). Pursuant to the agreement (and as later determined by the

jury) GPDEV and Simons were to receive twenty five percent (25%) of the net amounts of
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income TSI received from amounts invoiced to and paid to by the agencies and or customers for

the sale and delivery of ordered water from Nestle and Niagara Water.

       2.     After TSI failed to pay the contracted amounts owed upon demand, GPDEV and

Simons filed suit on September 21, 2018, in the United States District Court for the Northern

District of Florida styled GPDEV, LLC and Simons Exploration, Inc. v. Team Systems

International, LLC (Case No. 18-cv-00442-RH-MAF) (the “TSI Lawsuit”).

       3.     The TSI Lawsuit resulted in the entry of a Final Judgment dated September 28,

2021, in favor of GPDEV and Simons. See GPDEV Claim 3-1; Simons Claim No. 4-1.

       4.     The Final Judgment awarded GPDEV $3,297,995.32, consisting of $2,770,855.00

in principal, plus $527,140.32 as prejudgment interest through August 25, 2021, together with

post-judgment interest after August 25, 2021, as provided by law.

       5.     The Final Judgment awarded Simons $2,948,080.46, consisting of $2,483,722.00

in principal, plus $464,358.46 as prejudgment interest through August 25, 2021, together with

post-judgment interest after August 25, 2021 as provided by law.

       6.     TSI was egregiously uncooperative with GPDEV and Simons efforts to obtain

pre-judgment discovery and post judgment discovery in aid of execution. The Trial Court found,

TSI has a “troubling record of noncompliance with court rules, orders and discovery obligations”

(ECF 342).

       7.     On December 1, 2021, and December 20, 2021, TSI was compelled to provide

post-judgment discovery in aid of execution to GPDEV and Simons on or before January 14,

2021. TSI failed to comply with the Federal Court’s Orders, resulting in the Court’s issuance of

an Order to Show Cause, as to why TSI and its principal, Deborah Mott, should not be held in

civil contempt for failure to provide the required information by the January 14 deadline. The




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Show Cause Order required Ms. Mott to appear by telephone for the show cause hearing on

January 24, 2022 at 9:00 A.M., and to supply the Court and address were, “if held in civil

contempt at a later hearing, the ‘principal’ and Ms. Mott will be available to be taken into

custody by the United States Marshals Service and held until the required information is

provided.”

        8.      To avoid its discovery obligations and to avoid posting a supersedeas bond

pending appeal, TSI commenced this bankruptcy case on January 18, 2022.

        9.      On March 30, 2022, the Court entered a Memorandum Opinion determining that

cause existed to convert this case to a case under Chapter 7 of the Bankruptcy Code.

        10.     The Chapter 7 Trustee George L. Miller and his able counsel with Archer &

Griner, P.C., are the appropriate parties to pursue litigation recoveries and claims on behalf of

the estate. The alleged TSI members are not the proper parties to pursue claims as they have a

long history of delay, obfuscation, and apparent falsification of business records that is not in the

best interests of Creditors or the estate.

        11.     To the extent the Trustee’s efforts result in more than a one hundred percent

recovery for the estate of all claims and administrative expenses, the TSI members will benefit

from a distribution pursuant to Section 726(a)(6) which permits excess recoveries to go to the

Debtor.

        WHEREFORE, Creditors respectfully request that the Court deny the Motion For Entry

of Order Granting [Alleged] TSI Members Standing to: (A) Prosecute the Appeal and (B) File

Claims and Collect Certain Accounts Receivable on Behalf of the Debtor’s Estate (ECF 328).




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Dated: July 12, 2023             KASEN & KASEN, P.C.

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